Case 1:04-cv-00608-DAE-LK Document 191 Filed 05/30/08 Page 1 of 1   PageID #: 1069




                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

  MEGAN KAINA, ET AL.,          )           CIVIL NO. 04-00608 DAE-LEK
                                )
            Plaintiff,          )
                                )
       vs.                      )
                                )
  COUNTY OF MAUI, ET AL.,       )
                                )
            Defendants.         )
  _____________________________ )

                              ORDER OF DISMISSAL

              The court having been advised by counsel for the

  parties that the above-entitled proceeding has been settled, and

              GOOD CAUSE APPEARING FOR DISMISSAL,

              IT IS ORDERED that this action is hereby dismissed with

  prejudice, each party to bear its own costs and attorneys’ fees.

  The court retains jurisdiction to reopen the proceeding, upon

  good cause shown, if the settlement conditions have not been

  satisfied timely.

              IT IS SO ORDERED.

              DATED May 30, 2008 at Honolulu, Hawaii




                                     _____________________________
                                     David Alan Ezra
                                     United States District Judge
